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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                     COURT FILE NO.: ________________


Kristen Schmitt,
                                                          COMPLAINT
                Plaintiff,
v.
                                                   JURY TRIAL DEMANDED
Platinum B Services, LLC, and,
PDL Support.com, LLC,

              Defendants.


                                 INTRODUCTION

1.    This action arises out of Defendants’ violations of the Telephone Consumer

      Protection Act of 1991, 47 U.S.C. § 227 (“TCPA”) and the invasions of

      Plaintiff’s privacy by Defendants in their efforts to collect a payday loan.

                                  JURISDICTION

2.    Jurisdiction arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). For the

      pendent state law claim, pursuant to 28 U.S.C. § 1367.            The Court has

      authority to issue declaratory judgments pursuant to 28 U.S.C. § 2201.

3.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

      substantial part of the events and omissions giving rise to the claims occurred

      here.

                                 TRIAL BY JURY

4.    Plaintiff is entitled to and hereby respectfully demands a trial by jury.
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                                     PARTIES

5.    Plaintiff Kristen Schmitt is an adult resident of Hennepin County, Minnesota,

      and a person under the TCPA.

6.    Defendant Platinum B Services, LLC (“Platinum”), is a Missouri limited

      liability company. Its registered agent is FC Missouri Services, Inc., 8518

      North Palmer Court, Kanas City, MO 64157.

7.    Defendant PDL Support.com, LLC (“PDL”), is a Missouri limited liability

      company. Its registered agent is FC Missouri Services, Inc., 8518 North

      Palmer Court, Kanas City, MO 64157.

                         FACTUAL ALLEGATIONS

8.    Plaintiff applied for and obtained a short-term loan from Bottom Dollar

      Payday (“Bottom Dollar”).       Bottom Dollar is not licensed to provide

      consumer short-term loans, a/k/a payday loans, in Minnesota as required by

      Minnesota law, Minn. Stat. § 47.601.

9.    Plaintiff did not expressly consent to being called using an automated

      telephone dialing system (ATDS) as that term is defined by the TCPA or to

      receiving prerecorded messages when she applied for the loan with Bottom

      Dollar.

10.   At no time since Plaintiff obtained a loan from Bottom Dollar has Plaintiff

      given express consent to call her cellular telephone number using an ATDS

      or to leave prerecorded messages.
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11.   A payment was due on the loan on May 4, 2012. On April 30, 2012,

      Plaintiff sent Defendants an email in response to payment reminder she

      received from Defendants which stated, “I request you to not contact me at

      work or phone, but by email or mail only.” A copy of the email is attached

      as Exhibit A.

12.   On May 9, 2012, Plaintiff received an automated message from Defendants

      at 8:04 am and 10:58 am. The message stated, “Hello, this is PDL Support.

      We have an important update regarding your account. If you could please

      give us a call back at our toll free number 866-722-2770 option 5. Again,

      that number to reach us at is 866-722-2770 option 5. Thank you and we look

      forward to speaking with you.”

13.   On May 9, 2012, Plaintiff received an email from Defendants titled, “Urgent

      Notice from Bottom Dollar.” Plaintiff responded to this email at 11:37 am

      on May 9, 2012 stating, among other things, “I have requested to NOT be

      contacted by phone in which you have violated by continuing to call me with

      automated messages and harassment practices.” She also included a copy of

      the text from her April 30, 2012, email message. A copy of Defendants’

      email and her response is attached as Exhibit B.

14.   When 866-722-2770 is called an automated message is played which starts

      out, “Thank you for calling Platinum B Services ….”



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15.   Based on information and belief, PDL and Platinum are alter egos of each

      other and control Bottom Dollar. See Complaint by Arkansas Attorney

      General against Josh Mitchem against PDL Support, LLC, and Platinum B

      Services, LLC, attached as Exhibit C.

16.   From May 9, 2012, at 12:35 pm to May 30, 2012, Defendants made an

      additional 85 non-emergency calls to Plaintiff’s cellular phone using an

      ATDS and leaving a pre-recorded message, for a total of 87 calls. A call log

      showing the date and time of each call is attached as Exhibit D.

17.   Every message was identical and indisputably prerecorded because when

      Plaintiff picked up the phone the message that was left on her voicemail was

      the same message that she heard. A live person was not delivering the

      message.

18.   Defendants placed as many as seven (7) in a day to Plaintiff.

19.   On May 24, 2012, Plaintiff received an email from Defendants, which is

      attached as Exhibit E.

20.   Despite Plaintiff’s explicit demands to cease calling her, Defendants

      continued to make calls to Plaintiff’s cellular telephone using an ATDS and

      leaving prerecorded messages.

21.   Defendants willfully and/or knowingly violated the TCPA by not attempting

      to determine whether the number they were calling was for a cellular



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      telephone before they called the cellular telephone using an ATDS and

      leaving a prerecorded message.

22.   Defendants willfully and/or knowingly violated the TCPA by calling

      Plaintiff’s cellular telephone using an ATDS and leaving a prerecorded

      message without her prior express consent.

23.   Defendants willfully and/or knowingly violated the TCPA by placing

      repeated calls to Plaintiff’s cellular telephone using an ATDS and leaving a

      prerecorded message after she requested that Defendants not contact her by

      phone.

                                    COUNT I

                  VIOLATIONS OF THE TELEPHONE
                 CONSUMER PROTECTION ACT OF 1991
                                 47 U.S.C. § 227

24.   Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

25.   Defendants called Plaintiff’s cellular telephone using an ATDS as that term

      is defined by the TCPA and interpreted by the Federal Communications

      Commission (FCC).

26.   Defendants violated the TCPA by using an ATDS to call Plaintiff’s cellular

      telephone and leave a prerecorded message without Plaintiff’s express

      consent.



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27.   Defendants’ calls to Plaintiff’s cellular telephone were not for an emergency

      purpose.

28.   Despite the numerous demands by Plaintiff to not call her cellular telephone,

      Defendants continued to use an ATDS to call Plaintiff on her cellular phone

      and leave prerecorded messages.

29.   Defendants willfully or knowingly violated the TCPA by making non-

      emergency telephone calls to Plaintiff’s cellular telephone using an ATDS

      and leaving prerecorded messages without Plaintiff’s prior express consent.

30.   Defendants willfully or knowingly violated the TCPA by making non-

      emergency telephone calls to Plaintiff’s cellular telephone using an ATDS

      before determining whether they were calling a cellular telephone.

31.   Defendants willfully or knowingly violated the TCPA by making non-

      emergency telephone calls to Plaintiff’s cellular telephone using an ATDS

      and leaving prerecorded messages after she explicitly told Defendants not to

      call her.

32.   Defendants willfully or knowingly violated the TCPA by making non-

      emergency telephone calls to Plaintiff’s cellular telephone using an ATDS

      and leaving prerecorded messages after she explicitly told them to stop

      calling her and leaving automated messages.

33.   Pursuant to 47 U.S.C. § 227(b)(3)(B), a person is entitled to statutory

      damages of $500, or her actual monetary damages, for each violation.
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34.   Pursuant to 47 U.S.C. § 227(b)(3), a court may award a person up to three

      times Plaintiff’s damages if the court finds that the violation was willful or

      knowing.

35.   Pursuant to 47 U.S.C. 227(b)(3)(A), a person may enjoin a party from

      continuing to violate the TCPA.

                                        COUNT II

                               INVASION OF PRIVACY

36.   Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

37.   When Congress passed the Telephone Consumer Protection Act of 1991, it

      found that “[e]vidence compiled by the Congress indicates that residential

      telephone subscribers consider automated or prerecorded telephone calls,

      regardless of the content or the initiator of the message, to be a nuisance and

      an invasion of privacy.” Telephone Consumer Protection Act of 1991, PL

      102-243, § 2(10) (December 20, 1991). It also said, “Banning such

      automated or prerecorded telephone calls to the home, except when the

      receiving party consents to receiving the call or when such calls are

      necessary in an emergency situation affecting the health and safety of the

      consumer, is the only effective means of protecting telephone consumers

      from this nuisance and privacy invasion.” Id. at § 2(12).



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38.   Automated calls to a consumer’s cellular phone are an even greater nuisance

      and invasion of privacy than automated calls to a consumer’s home

      residential telephone because a consumer typically keeps his or her phone on

      his or her person at all times.

39.   Plaintiff generally keeps her cellular phone on her person at all times.

40.   Defendants intentionally and/or negligently interfered, physically or

      otherwise, with the solitude, seclusion and/or private concerns or affairs of

      Plaintiff by repeatedly and unlawfully calling her cellular phone using an

      ATDS and leaving a prerecorded message.

41.   Plaintiff had a reasonable expectation of privacy in her solitude, seclusion,

      private concerns and affairs.

42.   The conduct of Defendants occurred in a way that would be highly offensive

      to a reasonable person in that position because, among other things,

      Defendants called Plaintiff on her cellular phone using an ATDS without her

      consent, called her 87 times in 3 weeks using an ATDS and left a

      prerecorded message, called her up to 7 times a day using an ATDS and left

      a prerecorded message, and called her after Plaintiff told Defendants on two

      occasions to not call her.

43.   As a result of such intrusions and invasions of privacy, Defendants are liable

      to Plaintiff for damages in an amount to be determined at trial.



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                            PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants for the following:

     I.      Statutory damages of $500 for each violation of the TCPA pursuant to

             47 U.S.C. § 227(b)(3);

    II.      Additional statutory damages of $1,000 for each knowing and willful

             violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3);

   III.      An order enjoining Defendants from continuing to call Plaintiff’s

             cellular phone using an ATDS or leaving prerecorded messages;

   IV.       Damages for invading Plaintiff’s privacy; and,

For such other and further relief as the Court may deem just and proper

                                          CHAMPION LAW LLC

Dated: June 8, 2012                       s/ Curtis P. Zaun       _
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